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6
     and the Putative Class
7
8                            UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10
11   THANE CHARMAN, individually and on            Case No.: __________________
     behalf of all others similarly situated
12
                      Plaintiff,                   CLASS ACTION COMPLAINT
13
     v.                                            JURY TRIAL DEMANDED
14
     BIOGNOMICS LAB, LLC, a California
15
     Limited Liability Company, JON
16   PHILLIP LICATA, an individual, DAVID
     LEE OTTESTAD, an individual, and
17
     JOHN DOE, an unknown business entity,
18                  Defendants.
19
20                                 CLASS ACTION COMPLAINT
21          1.   Plaintiff THANE CHARMAN (“Plaintiff”) brings this Class Action
22
     Complaint and Demand for Jury Trial against Defendant BIOGNOMICS LAB, LLC,
23
24   (“BLL”) Defendant JON PHILLIP LICATA (“Licata”), Defendant DAVID LEE
25   OTTESTAD, (“Ottestad”) and Defendant JOHN DOE (“John Doe” or together,
26
     “Defendants”) to stop their illegal practice of making unauthorized calls that play
27
28
     COMPLAINT                                 1                           ____________
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1    prerecorded voice messages to the cellular telephones of consumers nationwide, and to
2
     obtain redress for all persons injured by their conduct. Plaintiff alleges as follows upon
3
     personal knowledge as to itself and its own acts and experiences, and, as to all other
4
5    matters, upon information and belief, including investigation conducted by its attorney.
6
                                  NATURE OF THE ACTION
7
          2.     Defendant BLL sells COVID-19 testing kits. Defendants LICATA and
8
     OTTESTAD work in cooperation with and for BLL to plan and carry out BLL’s
9
10   marketing. As a part of their sales efforts, Defendants and their agent John Doe placed
11
     thousands of calls employing an artificial or prerecorded voice message to cell phones and
12
     residential phones nationwide.
13
14         3.    In 2013, the FCC required prior express written consent for all prerecorded
15
     voice calls (“robocalls”) to wireless numbers. Specifically, it ordered that:
16
          [A] consumer’s written consent to receive telemarketing robocalls must be
17
          signed and be sufficient to show that the consumer: (1) received “clear and
18        conspicuous disclosure” of the consequences of providing the requested
          consent, i.e., that the consumer will receive future calls that deliver
19
          prerecorded messages by or on behalf of a specific seller; and (2) having
20        received this information, agrees unambiguously to receive such calls at a
          telephone number the consumer designates.[] In addition, the written
21
          agreement must be obtained “without requiring, directly or indirectly, that the
22        agreement be executed as a condition of purchasing any good or service.[]”
23
     In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,
24
     27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted) (“the FCC Letter”).
25
26
27
28
     COMPLAINT                                   2                               ____________
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1            4.   Defendants had not received consent prior to placing these calls and,
2
     therefore, are in violation of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C.
3
     § 227.
4
5            5.   Congress enacted the TCPA in 1991 to restrict the use of sophisticated
6
     telemarketing equipment that could target millions of consumers en masse. Congress
7
     found that these calls were not only a nuisance and an invasion of privacy to consumers
8
9    specifically but were also a threat to interstate commerce generally. See S. Rep. No. 102-
10
     178, at 2-3 (1991), as reprinted in 1991 U.S.C.C.A.N. 1968, 1969-71.
11
             6.   Despite such strong legislation passed almost 30 years ago, the same problem
12
13   persists.
14
             7.   To illustrate the scale of the problem facing America, it is estimated that there
15
     were over 47 billion robocalls placed in 2018, and 29 billion placed in just the first half of
16
17   2019.
18
             8.   Robocallers repeatedly and blatantly violate federal law with impunity
19
     because their calls are made anonymously. They are so hard to track down that they are
20
21   rarely caught, so robocall volumes have continued to rise.
22
             9.   Most of the perpetrators are never identified because companies structure their
23
     business to keep their robocalling outsourced to third parties who offer a shield from
24
25   scrutiny.
26
27
28
     COMPLAINT                                     3                               ____________
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1          10.   This strategy enables companies to accept the revenue generated by mass
2
     robocalling while arguing they don’t even “make” phone calls.
3
           11.   The TCPA targets unauthorized calls exactly like the ones alleged in this case,
4
5    based on Defendants’ use of technological equipment to spam consumers with its
6
     advertising on a grand scale.
7
           12.   By placing the calls at issue, Defendants have violated the privacy and
8
9    statutory rights of Plaintiff and the Class.
10
           13.   Plaintiff therefore seeks an injunction requiring Defendants to stop their
11
     unconsented calling, as well as an award of actual and statutory damages to the Class
12
13   members, together with costs and reasonable attorneys’ fees.
14
                                              PARTIES
15
           14.   Plaintiff THANE CHARMAN is a natural person and is a citizen of the
16
17   Southern District of California.
18
           15.   Defendant BLL is a limited liability company and existing under the laws of
19
     the State of California with its principal place of business at 16485 Laguna Canyon Rd
20
21   STE 125, Irvine CA 92618. BLL’s registered agent is Stephen L Fingal, 5120 Campus Dr.
22
     Ste 200, Newport Beach, CA 92660.
23
           16.   Defendant JON PHILLIP LICATA is an individual residing in this district.
24
25         17.   Defendant DAVID LEE OTTESTAD, an individual residing in this district.
26
           18.   Defendant JOHN DOE (“John Doe”) is an unknown business entities.
27
28
     COMPLAINT                                      4                           ____________
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1                                    JURISDICTION AND VENUE
2
           19.        This Court has federal subject matter jurisdiction under 28 U.S.C. § 1331, as
3
     the action arises under the Telephone Consumer Protection Act, 47 U.S.C. § 227, which
4
5    is a federal statute.
6
           20.        This Court has general jurisdiction over Defendants because they reside in
7
     this district.
8
9          21.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) because
10
     Defendants reside in this district.
11
                                COMMON FACTUAL ALLEGATIONS
12
13         22.        Defendant BLL sells its COVID 19 testing kits.
14
           23.        Defendant LICATA and OTTESTAD are employed at BLL.
15
           24.        Defendant John Doe is an unknown business entities.
16
17         25.        To increase their sales and avoid paying for legitimate forms of advertising,
18
     BLL, LICATA, OTTESTAD, hired John Doe to market their company and produce
19
     inbound calls.
20
21         26.        John Doe amassed a list of thousands of phone numbers from unknown
22
     sources that were believed to belong to business phone numbers, but Defendants did not
23
     actually segregate out cellular and residential phones as would have been required for the
24
25   calls to be (potentially) legal.
26
27
28
     COMPLAINT                                       5                              ____________
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1         27.    BLL, LICATA, and OTTESTAD failed to ensure that John Doe was not also
2
     calling residential and cellular phones as prohibited by 47 U.S.C. § 227(b)(1)(A)(iii) and
3
     47 U.S.C. § 227(b)(1)(B).
4
5         28.    When Plaintiff and the class answered the calls, they heard a prerecorded
6
     voice message.
7
          29.    When Plaintiff and the Class members listened to their messages expecting to
8
9    hear from a real person, they instead heard a prerecorded voice message.
10
          30.    Defendants hoped that if enough people purchased their product as a result of
11
     the robocalls, it would justify the annoyance experienced by the recipients of the calls as
12
13   the “cost of doing business.”
14
          31.    Defendants did not possess consent from Plaintiff and the Class as required
15
     prior to deploying these prohibited messages.
16
17                FACTS SPECIFIC TO PLAINTIFF THANE CHARMAN
18
          32.    On or around January 22, 2022 at 9:40 a.m., Plaintiff received a call from
19
     Defendant and/or its agent John Doe on Plaintiff’s cell phone ending in 1119.
20
21        33.    The caller ID displayed as (310) 295-1182.
22
          34.    Plaintiff answered and he heard a prerecorded voice.
23
          35.    The voice informed Plaintiff that a COVID 19 testing kit was available by
24
25   going to the website boomerangkit.com and selecting free registration.
26
27
28
     COMPLAINT                                   6                              ____________
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1         36.    Plaintiff visited the website boomerangkit.com and read the terms and
2
     conditions which indicate it is operated by BLL.
3
          37.    Plaintiff also called BLL and spoke to Defendant OTTESTAD, who then sent
4
5    Plaintiff a solicitation email from the boomerangkit.com email domain.
6
          38.    Plaintiff never consented to receive calls from Defendants. Plaintiff had no
7
     relationship with Defendants and had never requested that Defendants contact Plaintiff in
8
9    any manner, let alone by robocall.
10
                   THEORIES OF LIABILITY AGAINST DEFENDANTS
11
          39.    Even if BLL, LICATA, or OTTESTAD did not personally initiate the TCPA-
12
13   violating calls, BLL, LICATA, and OTTESTAD are liable if they took steps to cause the
14
     calls to be made, or if the calls were made pursuant to its actual or apparent authority, or
15
     ratification. Further, BLL, LICATA, and OTTESTAD are liable for participating in a joint
16
17   enterprise or acting in concert with John Doe.
18
                          DIRECT LIABILITY UNDER THE TCPA
19
          47.    Defendants’ scheme involves the use of illegal robocalling to promote their
20
21   services.
22
          48.    John Doe has direct liability under the TCPA for calling Plaintiff’s phone
23
     using an artificial or prerecorded voice.
24
25        49.    BLL, LICATA, and OTTESTAD are also directly liable under the TCPA for
26
     outsourcing their telemarketing to John Doe.
27
28
     COMPLAINT                                   7                               ____________
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1           50.   On May 9, 2013, the FCC confirmed this principle in a Declaratory Ruling
2
     holding that sellers may not avoid liability by outsourcing telemarketing:
3
                   [A]llowing the seller to avoid potential liability by outsourcing its
4
            telemarketing activities to unsupervised third parties would leave consumers
5           in many cases without an effective remedy for telemarketing intrusions. This
            would particularly be so if the telemarketers were judgment proof,
6
            unidentifiable, or located outside the United States, as is often the case. Even
7           where third-party telemarketers are identifiable, solvent, and amenable to
            judgment limiting liability to the telemarketer that physically places the call
8
            would make enforcement in many cases substantially more expensive and less
9           efficient, since consumers (or law enforcement agencies) would be required
            to sue each marketer separately in order to obtain effective relief. As the FTC
10
            noted, because “[s]ellers may have thousands of ‘independent’ marketers,
11          suing one or a few of them is unlikely to make a substantive difference for
            consumer privacy.
12
13          May 2013 FCC Ruling, 28 FCC Rcd at 6588 (¶ 37) (internal citations omitted).
14
                              VICARIOUS / AGENCY LIABILITY
15
            51.   The May 2013 FCC Ruling rejected a narrow view of TCPA liability,
16
17   including the assertion that a seller’s liability requires a finding of formal agency and
18
     immediate direction and control over the third-party who placed the telemarketing call.
19
     Id. at 6587 n. 107.
20
21          52.   Prior to conducting discovery in this litigation, due to the anonymous nature
22
     of robocalling, Plaintiff has no way to identify the exact parties who called its phone. It
23
     could have been BLL, LICATA, OTTESTAD. or some other unknown company, John
24
25   Doe.
26
27
28
     COMPLAINT                                     8                               ____________
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1         53.    However, for the purposes of TCPA liability, Plaintiff is not expected to know
2
     this information at the pleading stage.
3
          54.    The May 2013 FCC Ruling states that called parties may obtain “evidence of
4
5    these kinds of relationships . . . through discovery, if they are not independently privy to
6
     such information.” Id. at 6592-593 (¶ 46). Moreover, evidence of circumstances pointing
7
     to apparent authority on behalf of the telemarketer “should be sufficient to place upon the
8
9    seller the burden of demonstrating that a reasonable consumer would not sensibly assume
10
     that the telemarketer was acting as the seller’s authorized agent.” Id. at 6593 (¶ 46).
11
                                     ACTUAL AUTHORITY
12
13        55.    Defendants BLL, LICATA, and OTTESTAD gave actual authority to John
14
     Doe to generate prospective customers.
15
          56.    BLL, LICATA, and OTTESTAD’s integration of robocalling into their sales
16
17   process was so seamless that it appeared to outside parties like Plaintiff that John Doe was
18
     the telemarketing department of BLL.
19
          57.    BLL, LICATA, and OTTESTAD acted in concert with John Doe and has been
20
21   able to enjoy the benefits of mass robocalling while moving the illegal activity “outside
22
     their purview.”
23
          58.    John Doe had actual authority to make robocalls to Plaintiff on behalf of
24
25   Defendants BLL, LICATA, and OTTESTAD
26
27
28
     COMPLAINT                                    9                               ____________
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1         59.    The FCC has explained that its “rules generally establish that the party on
2
     whose behalf a solicitation is made bears ultimate responsibility for any violations.” See
3
     In re Rules & Regulations Implementing the TCPA, CC Docket No. 92-90, Memorandum
4
5    Opinion and Order, 10 FCC Rcd 12391, 12397 (¶ 13) (1995).
6
          60.    In their January 4, 2008 ruling, the FCC reiterated that a company on whose
7
     behalf a telephone call is made bears the responsibility for any violations. Id. (specifically
8
9    recognizing “on behalf of” liability in the context of an autodialed or prerecorded message
10
     call sent to a consumer by a third party on another entity’s behalf under 47 U.S.C. §
11
     227(b)).
12
13        61.    More specifically, the May 2013 FCC Ruling held that, even in the absence
14
     of evidence of a formal contractual relationship between the seller and the telemarketer, a
15
     seller is liable for telemarketing calls if the telemarketer “has apparent (if not actual)
16
17   authority” to make the calls. 28 FCC Rcd at 6586 (¶ 34).
18
                                   APPARENT AUTHORITY
19
          62.    The May 2013 FCC Ruling further clarifies the circumstances under which a
20
21   telemarketer has apparent authority:
22
          [A]pparent authority may be supported by evidence that the seller allows the
23        outside sales entity access to information and systems that normally would be
          within the seller’s exclusive control, including: access to detailed information
24
          regarding the nature and pricing of the seller’s products and services or to the
25        seller’s customer information. The ability by the outside sales entity to enter
          consumer information into the seller’s sales or customer systems, as well as
26
          the authority to use the seller’s trade name, trademark and service mark may
27        also be relevant. It may also be persuasive that the seller approved, wrote or
28
     COMPLAINT                                    10                               ____________
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1           reviewed the outside entity’s telemarketing scripts. Finally, a seller would be
            responsible under the TCPA for the unauthorized conduct of a third-party
2
            telemarketer that is otherwise authorized to market on the seller’s behalf if the
3           seller knew (or reasonably should have known) that the telemarketer was
            violating the TCPA on the seller’s behalf and the seller failed to take effective
4
            steps within its power to force the telemarketer to cease that conduct.
5
            28 FCC Rcd at 6592 (¶ 46).
6
7        63.      BLL, LICATA, and OTTESTAD authorized John Doe to generate
8
     prospective customers for them.
9
         64.      The integration of BLL’s sales efforts with robocalling by John Doe was so
10
11   seamless that it appeared to Plaintiff that John Doe was one and the same company with
12
     BLL.
13
         65.      Plaintiff reasonably believed and relied on the fact that John Doe had received
14
15   permission and instructions from BLL, LICATA, and OTTESTAD to advertise BLL’s
16
     COVID-19 tests.
17
                                          RATIFICATION
18
19          66.   Defendants BLL, LICATA, and OTTESTAD actively accepted business that
20
     originated through the illegal robocalls placed by John Doe.
21
            67.   By accepting a contract written with Plaintiff pursuant to a robocall, BLL,
22
23   LICATA, and OTTESTAD “manifest[ed] assent or otherwise consent[ed] . . . to act” on
24
     behalf of Defendant John Doe, as described in the Restatement (Third) of Agency.
25
26
27
28
     COMPLAINT                                     11                              ____________
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1         68.     BLL, LICATA, and OTTESTAD ratified John Doe’s TCPA violations by
2
     knowingly accepting the benefit of Plaintiff as a new customer despite the fact that the
3
     way Plaintiff were the victim of Defendants’ illegal marketing scheme.
4
5         69.     BLL, LICATA, and OTTESTAD permitted their salespeople to solicit to
6
     prospective customers, including Plaintiff, while turning a blind eye to the illegal way in
7
     which the potential customer was identified.
8
9         70.     BLL, LICATA, and OTTESTAD ratified John Doe’s TCPA violations by
10
     being willfully ignorant of the violations or by being aware that such knowledge was
11
     lacking.
12
13        71.     The ratification by BLL, LICATA, and OTTESTAD caused John Doe to have
14
     actual authority under Restatement § 4.01 cmt. b.
15
                                     JOINT ENTERPRISE
16
17        72.     BLL, LICATA, and OTTESTAD had a tacit agreement or approved of after
18
     the fact with John Doe for the sale of their products pursuant to John Doe’s illegal
19
     robocalls.
20
21        73.     Defendants were part of a common enterprise and had a community of interest
22
     in selling BLL’s services for COVID-19 tests.
23
          74.     BLL, LICATA, and OTTESTAD had an equal right to control the conduct of
24
25   John Doe by specifying the type of people to be called, the questions that should be asked
26
     to prospective consumers, and how to write and execute contracts on behalf of BLL.
27
28
     COMPLAINT                                  12                              ____________
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1          75.    Defendants had a duty to exercise due care when placing phone calls
2
     marketing their products.
3
           76.    Defendants’ violation of the TCPA is negligence per se.
4
5          77.    Because of Defendants’ negligence, Plaintiff suffered statutory and actual
6
     damage.
7
           78.    BLL, LICATA, OTTESTAD and John Doe are jointly and severally liable for
8
9    the resulting damage.
10
                                    ACTING IN CONCERT
11
           79.    Defendants were part of a common design to robocall consumers and then sell
12
13   BLL’s COVID-19 tests.
14
           80.    BLL, LICATA, and OTTESTAD had a tacit understanding that John Doe was
15
     robocalling in violation of the TCPA.
16
17         81.    BLL, LICATA, and OTTESTAD knew that John Doe’s conduct was a breach
18
     of duty to Plaintiff.
19
           82.    BLL, LICATA, and OTTESTAD gave John Doe substantial assistance in
20
21   accomplishing the tortious result, including compensating John Doe for generating
22
     customers pursuant to robocalls and giving instructions on how to represent them and what
23
     to ask the people that had been robocalled.
24
25
26
27
28
     COMPLAINT                                     13                          ____________
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1          83.       BLL, LICATA, and OTTESTAD furthered the tortious conduct by their
2
     cooperation with John Doe and adoped John Doe’s robocalling and solicitation for their
3
     own benefit.
4
5          84.       BLL, LICATA, and OTTESTAD’s own conduct constitutes a breach of duty
6
     to Plaintiff.
7
           85.       Plaintiff’s injury is indivisible.
8
9          86.       All Defendants acted tortiously and the harm resulted from the robocalling of
10
     John Doe.
11
           87.       BLL, LICATA, OTTESTAD and John Doe are joint and severally liable for
12
13   the resulting damage.
14
                                         CLASS ALLEGATIONS
15
16         89.       Class Definition: Plaintiff brings this action pursuant to Federal Rule of Civil
17
     Procedure 23(b)(1), 23(b)(2) and/or 23(b)(3) on behalf of Plaintiff and a class and subclass
18
19   defined as follows:
20                      TCPA Class. All persons in the United States who: (1) from the
21                      last 4 years to the filing of this complaint (2) received at least one
                        telephone call; (3) on his or her cellular or residential telephone; (4)
22                      that used an artificial or prerecorded voice; (5) for the purpose of
23                      selling BLL’s products or services; (6) where Defendants did not
                        have the recipient’s express written consent prior to placing the
24                      calls.
25
                        California Subclass. All persons in California who: (1) from the
26                      last 4 years to the filing of this complaint (2) received at least one
27                      telephone call; (3) on his or her telephone; (4) that used a
28
     COMPLAINT                                            14                          ____________
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1                    prerecorded voice; (5) for the purpose of selling BLL’s services; (6)
                     where Defendants did not have prior express written consent to
2
                     place such call at the time it was made.
3
           90.   The following people are excluded from the Class: (1) any Judge or Magistrate
4
5    presiding over this action and members of their families; (2) Defendants, Defendants’

6    subsidiaries, parents, successors, predecessors, and any entity in which the Defendants or
7
     their parents have a controlling interest and its current or former employees, officers and
8
9    directors; (3) persons who properly execute and file a timely request for exclusion from

10   the Class; (4) persons whose claims in this matter have been finally adjudicated on the
11
     merits or otherwise released; (5) Plaintiff’s counsel and Defendants’ counsel; and (6) the
12
13   legal representatives, successors, and assigns of any such excluded persons.

14         91.   Numerosity: The exact number of the Class members is unknown and not
15
     available to Plaintiff, but it is clear that individual joinder is impracticable. On information
16
17   and belief, Defendants placed telephone calls to thousands of consumers who fall into the

18   definition of the Class. Members of the Class can be identified through Defendants’
19
     records.
20
21         92.   Typicality: Plaintiff’s claims are typical of the claims of other members of

22   the Class, in that Plaintiff and the Class members sustained damages arising out of
23
     Defendants’ uniform wrongful conduct and unsolicited telephone calls.
24
25         93.   Adequate Representation: Plaintiff will fairly and adequately represent and
26   protect the interests of the other members of the Class. Plaintiff’s claims are made in a
27
28
     COMPLAINT                                     15                               ____________
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1    representative capacity on behalf of the other members of the Class. Plaintiff has no
2
     interests antagonistic to the interests of the other members of the proposed Class and is
3
     subject to no unique defenses. Plaintiff has retained competent counsel to prosecute the
4
5    case on behalf of Plaintiff and the proposed Class. Plaintiff and Plaintiff’s counsel are
6
     committed to vigorously prosecuting this action on behalf of the members of the Class and
7
     have the financial resources to do so.
8
9         94.      Policies Generally Applicable to the Class: This class action is appropriate
10
     for certification because Defendants have acted or refused to act on grounds generally
11
     applicable to the Class as a whole, thereby requiring the Court’s imposition of uniform
12
13   relief to ensure compatible standards of conduct toward the Class members and making
14
     final injunctive relief appropriate with respect to the Class as a whole. Defendants’
15
     practices challenged herein apply to and affect the Class members uniformly, and
16
17   Plaintiff’s challenge of those practices hinge on Defendants’ conduct with respect to the
18
     Class as a whole, not on facts or law applicable only to Plaintiff.
19
          95.      Commonality and Predominance: There are many questions of law and fact
20
21   common to the claims of Plaintiff and the Class, and those questions predominate over
22
     any questions that may affect individual members of the Class. Common questions for the
23
     Class include, but are not necessarily limited to the following:
24
25                i.     Whether Defendants placed phone calls to Plaintiff and the putative
26
          class
27
28
     COMPLAINT                                   16                             ____________
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1                ii.     Whether the phone calls played an artificial or prerecorded voice.
2
                iii.     Whether Defendants possessed express written consent prior to calling
3
                         Plaintiff and the members of the Class;
4
5               iv.      Whether Defendants’ conduct was willing or knowing under the TCPA;
6
                 v.      Whether members of the Class are entitled to treble damages based on
7
                         the knowingness or willfulness of Defendants’ conduct.
8
9         96.      Superiority: This case is also appropriate for class certification because class
10
     proceedings are superior to all other available methods for the fair and efficient
11
     adjudication of this controversy as joinder of all parties is impracticable. The damages
12
13   suffered by the individual members of the Class will likely be relatively small, especially
14
     given the burden and expense of individual prosecution of the complex litigation
15
     necessitated by Defendants’ actions. Thus, it would be virtually impossible for the
16
17   individual members of the Class to obtain effective relief from Defendants’ misconduct.
18
     Even if members of the Class could sustain such individual litigation, it would still not be
19
     preferable to a class action, because individual litigation would increase the delay and
20
21   expense to all parties due to the complex legal and factual controversies presented in this
22
     Complaint. By contrast, a class action presents far fewer management difficulties and
23
     provides the benefits of single adjudication, economy of scale, and comprehensive
24
25   supervision by a single Court. Economies of time, effort and expense will be fostered, and
26
     uniformity of decisions ensured.
27
28
     COMPLAINT                                     17                              ____________
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1                                FIRST CAUSE OF ACTION
                             Telephone Consumer Protection Act
2
                                 Violation of 47 U.S.C. § 227
3                          (On behalf of Plaintiff and the TCPA Class)
4
          97.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.
5
          98.    John Doe placed telephone calls to Plaintiff’s and the Class members’ cellular
6
7    and/or residential telephones without having their prior express written consent to do so.
8
          99.    The calls were made for the express purpose of soliciting customers for BLL’s
9
     COVID-19 tests.
10
11        100. When Plaintiff and the Class answered, the calls played an artificial or
12
     prerecorded voice message to their cellular and/or residential phones as proscribed by 47
13
     U.S.C. § 227(b)(1)(A)(iii) and 47 U.S.C. § 227(b)(1)(B).
14
15        101. As a result of its unlawful conduct, Defendants repeatedly invaded Plaintiff’s
16
     and the Class’s personal privacy, causing them to suffer damages and, under 47 U.S.C. §
17
     227(b)(3)(B), entitling them to recover $500 in civil fines for each violation and an
18
19   injunction requiring Defendants to stop their illegal calling campaign.
20
          102. Defendants and/or its agent made the violating calls “willfully” and/or
21
     “knowingly” under 47 U.S.C. § 227(b)(3)(C).
22
23        103. If the court finds that Defendants willfully and/or knowingly violated this
24
     subsection, the court may increase the civil fine from $500 to $1500 per violation under
25
     47 U.S.C. § 227(b)(3)(C).
26
27
28
     COMPLAINT                                   18                                ____________
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1                               SECOND CAUSE OF ACTION
                           Violation of Cal. Civ. Code §1770(a)(22)(A)
2
                            California Consumer Legal Remedies Act
3                                        Injunctive Relief
                          (on behalf of Plaintiff and the California Class)
4
5          104. Plaintiff incorporates the foregoing allegations as if fully set forth herein.
6
           105. BLL, LICATA, OTTESTAD and John Doe placed telephone calls to
7
     Plaintiff’s and the Class members’ telephones.
8
9          106. Defendants did not have consent to place such calls.
10
           107. Defendants’ calls were made for a commercial purpose.
11
           108. When Plaintiff and the Subclass answered their phones, they heard an
12
13   artificial or prerecorded voice message.
14
           109. The calls did not first begin by introducing the organization calling and asking
15
     permission from a natural voice, as required by Cal. Civ. Code §1770(a)(22)(A).
16
17         110. On April 12, 2022, Plaintiff sent a notice of CLRA violation to Defendants
18
     via certified mail pursuant to Cal. Civ. Code § 1782(a)(1).
19
           111. As a result of its unlawful conduct, Defendants repeatedly invaded Plaintiff’s
20
21   and the Class’s personal privacy.
22
           112. Plaintiff has incurred actual damages in the form of annoyance, wasted time,
23
     wasted cell phone battery, and for the cost of postage to mail Defendants a complaint
24
25   letter.
26
           113. Plaintiff and the class seek injunctive relief.
27
28
     COMPLAINT                                   19                               ____________
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1                                THIRD CAUSE OF ACTION
                       Unlawful Prong of California Unfair Competition Law
2
                                 Cal. Bus. & Prof. Code §17200
3                         (on behalf of Plaintiff and the California Class)
4          114. Plaintiff incorporates the foregoing allegations as if fully set forth herein.
5          115. The unlawful prong of California Business and Professions Code §17200
6
     prohibits any unlawful business practice.
7
8          116. Each of Defendants’ violations of 47 U.S.C. § 227(b) and Cal. Civ. Code
9    §1770(a)(22)(A) vis a vis Plaintiff as described herein all constitute separate and
10
     cumulative violations of unlawful prong of §17200.
11
12         117. Plaintiff has incurred actual damages in the form of annoyance, wasted time,
13   wasted cell phone battery, and for the cost of postage to mail Defendants a complaint
14
     letter.
15
16         118. Plaintiff is authorized to pursue a private right of action against Defendants
17   under §17204.
18
           119. Plaintiff is entitled to injunctive relief and restitution.
19
20                                    PRAYER FOR RELIEF
21         WHEREFORE, Plaintiff THANE CHARMAN, individually and on behalf of the
22   Class, prays for the following relief:
23
           A.     An order certifying the Class as defined above, appointing Plaintiff THANE
24
                  CHARMAN as the Class representative and appointing Plaintiff’s counsel as
25
                  Class Counsel;
26
27
28
     COMPLAINT                                    20                              ____________
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1        B.   An order declaring that Defendants’ actions, as set out above, violate 47
2             U.S.C. § 227(b) of the TCPA;
3        C.   An order declaring that Defendants’ actions, as set out above, violate the
4             TCPA willfully and knowingly;
5        D.   An order declaring that Defendants’ actions, as set out above, violate Cal.
6             Civ. Code §1770(a)(22)(A);
7        E.   An order declaring that Defendants’ actions, as set out above, violate the
8             unlawful prong of Cal. Cal. Bus. & Prof. Code § 17200;
9        F.   An injunction requiring Defendants to cease all unlawful calls without first
10            obtaining the call recipient’s express written consent to receive such calls,
11            and otherwise protecting interests of the Class;
12       G.   An award of statutory damages;
13       H.   An award of attorney’s fees and costs pursuant to Cal. Civ. Proc. Code §
14            1021.5; and
15       I.   Such other and further relief that the Court deems reasonable and just.
16
17       Dated: May 6, 2022             Respectfully submitted,
18
19                                      JAVITCH LAW OFFICE
20
                                   By: /s/ Mark L. Javitch
21                                     Mark L. Javitch (California SBN 323729)
                                       480 S. Ellsworth Ave
22
                                       San Mateo CA 94401
23                                     Tel: (650) 781-8000
                                       Fax: (650) 648-0705
24
25                                      Attorney for Plaintiff THANE CHARMAN
                                        and the Putative Class
26
27
28
     COMPLAINT                                21                              ____________
